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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                MEMORANDUM

Honorable Edward J. Garcia
Senior United States District Judge
Sacramento, California

                                        RE:   Nora Ann Sainz
                                              Docket Number: 2:06CR496-01
                                              CONTINUANCE OF JUDGMENT
                                              AND SENTENCING

Sir:

Per agreement with both counsel, it is respectfully requested that the above-referenced
case be continued from July 27, 2007 to August 24, 2007, at 10:00 a.m. (See attached
amended Schedule for Disclosure.)

REASON FOR CONTINUANCE: The probation officer’s investigation is still ongoing.
There are outstanding records to be received and reviewed which are pertinent to this
case. All parties agree a continuance is appropriate.

By copy of this memorandum, the Court Clerk is being requested to make appropriate
changes in the Court calendar.

                                Respectfully submitted,

                                 /s/ Teresa C. Hoffman

                                 Teresa C. Hoffman
                           United States Probation Officer

REVIEWED BY:        s/s Terri L. Wilkins
                    Terri L. Wilkins
                    Supervising United States Probation Officer

Dated:       June 20, 2007
             Sacramento, California
             tch


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                                                              C O N T IN U A N C E ~ T O JU D G E (E JG ).M R G
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RE:   Nora Ann Sainz
      Docket Number: 2:06CR496-01
      CONTINUANCE OF JUDGMENT AND SENTENCING


Attachment

cc:   Clerk, United States District Court
      United States Attorney's Office
      United States Marshal's Office
      Olaf Hedberg, Defense Counsel
      Probation Office Calendar clerk



 XX Approved                /s/ Edward J. Garcia                                  6/20/07
                           EDWARD J. GARCIA
                           Senior United States District Judge                    Date
      Disapproved




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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA                           Criminal Number: 2:06CR496-01

                     Plaintiff,                    SCHEDULE FOR DISCLOSURE OF
                                                   PRESENTENCE REPORT AND FOR
  vs.                                              FILING OF OBJECTIONS TO THE
                                                   PRESENTENCE REPORT
Nora Ann SAINZ

                     Defendant.
                                         /

The Probation Officer and all parties shall adhere to this schedule unless it is later modified
by this Court:

        Judgment and Sentencing Date:                                 08/24/2007

        Motion for Correction of the Presentence Report
        shall be filed with the Court and served on the
        Probation Officer and opposing counsel no later
        than:                                                         08/17/2007

        The Presentence Report shall be filed with the
        Court and disclosed to counsel no later than:                 08/10/2007

        Counsel's written objections to the Presentence
        Report shall be delivered to the Probation Officer
        and opposing counsel no later than:                           08/03/2007

        The proposed Presentence Report shall be
        disclosed to counsel no later than:                           07/20/2007




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                                                                    C O N T IN U A N C E ~ T O JU D G E (E JG ).M R G
